                                  UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TENNESSEE
                                          AT KNOXVILLE


Case No. 3:18−cv−00347−TWP


  NOTICE REGARDING REQUIREMENT TO NOTIFY COURT OF CHANGE OF ADDRESS

Local Rule 83.13 − Parties not represented by counsel (pro se):

   It is the duty of any party not represented by counsel to promptly notify the Clerk and the other parties

to the proceedings of any change in his or her address, to monitor the progress of the case,and to

prosecute or defend the action diligently. Notification of a change of address must be accomplished by

filing a Notice with the Clerk and service of the Notice upon all other parties within 14 days of the

change of address. In addition, a party appearing for himself/herself shall sign his/her pleadings and

include his/her address and telephone number. The failure of a pro se plaintiff to timely respond to an

order or pleading addressed to the last address provided to the Clerk may result in dismissal of the case or

other appropriate action. Parties proceeding pro se shall be expected to be familiar with and follow the

Federal Rules of Civil Procedure and these rules.




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